316--477-5836 FEDE* OFFICE 1164 PAGE 41

2:48 . :
neta Case 4:16-cv-03362 Document 5 Filed on 05/15/13 in TXSD Page 1 of 2

21

22

23

a4

25

a6

27

 

Marc E. Angelucei, Esq. (SBN 211291)

LAW OFFICE OF MARC FE. ANGLEUCCI

11734 Wilshire Blvd., Ste. c903

hos Angeles, CA 90025

Telephone: (626) 319+39e8]

Facsimile: (626) 236-4127

Email: marc.angelucci@yahoo, com

Attorney for Plaintiffs,

National Coalition Por Men, and James Lesmeister

IN THE UNITED STATES DISTRICT court
FOR THE CENTRAL DISTRICT OF CALIFORNTA

NATIONAL COALITION FoR MEN and|Case No. CV13-92391] DSF (MANX)
JAMES  LESMEISTER, individually
and on behalf of others similarly
situated, PROOF OF SERVICE

PLAINTIFFS,

Ve
Judge: Dale §, Fischer
SELECTIVE SERVICE SYSTEM; | Magistrate: Margaret A. Nagle
LAWRENCE G. ROMO, as Director of | Action Filed: April 4, 2013
SELECTIVE SERVICE SYSTEM; and
DOES 1 through 50, (Inclusive,

 

 

DEFENDANTS. |

 

1

 

 

 

 

PROOF OF SERVICE

 

 
2
318--477-5836 FEDE* OFFICE 1164 PAGE 4

paaetas Case 4:16-0v-03362 Document 5 Filed on 05/15/13 in TXSD Page 2 of 2

PROOF OF SERVICE

foam over the age of 18 and not 4 party to this case. I am
a resident of or employed in the county where the mailing
eccurred. My business address is 11734 Wilshire Blva.,
Sté. C903, Los Angeles, CA 9025, and my phone number is
626-319-3061. On the date indicated below, I served a true
copy of the following decuments:

- Complaint and Summons
- Notice of Assignment te 0.5. Magistrate Judge

by way of:

__ Regular mail: I enclosed saig documents in a sealed
envelope addressed to each address below and deposited the
envelope in the United States mail with first class Postage
fully prepaid in Los Angeles, California.

Overnight mail: I sent the documents by Federal Express
overnight mail te:

T conestre: mail: I send the documents certified mail to;

U.S. Attorney’s Office

Central District of California
312 N. Spring &t., Ste. 1200
hos Angeles, CA 90012

0.85, Attorney General
950 Pennsylvania Ave., NW
Washington, D.c, 20530-0001

Lawrence G, Romo, Director
Selective Service System
1515 Wilson Blvd., Ste. 600
Arlington, VA 22299

 

 

' atlayet .
